{¶ 26} I concur with the conclusion that at present, we have no final, appealable order. However, I write separately to clarify that I would not have the same conclusion if *Page 7 
we had a judgment for money against an attorney and a non-party for sanctions. At this time, there is no judgment upon which execution may issue. However, if there was a money judgment that could be executed upon by plaintiff while the underlying case is pending, I do not believe the parties against whom the judgment was granted have to wait for the conclusion of the underlying case to file their appeal. To the extent the majority suggests that the sanctioned attorney and adjuster could have their property attached or foreclosed upon as a result of an interlocutory "judgment" or order, and have no right to appeal until the conclusion of the underlying case, I disagree. *Page 1 